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FoR THE WESTERN DrsrRicr oF rENNEssEE_,;//__ 3 />,i, 'O-
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RICKY G. Sl\/IITH,
Plaintifi`,
VS. No. 05-1170-T/An

WlLLlAl\/l H. hATIMER, ET AL.,

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Defendants.

 

ORDER CORRECTING THE DOCKET
AND
ORDER TO SHOW CAUSE

 

Plaintiff Ricky G. Smith, a resident of Tennessee, filed a pro se complaint on June
23, 2005 and paid the civil filing fee.l The Clerk shall record the defendants as William H.
Latimer, a resident of Tennessee', Paul H. Bonds, Who is deceased; Kenneth Cheatum, a
resident of Tennessee; J ames Crigger, address unknown; Edwin Davis, a resident of
Tennessee; Paul Forrester, Who is deceased; and William B. Moss, Who is deceased

Federal courts are courts of limited jurisdiction Finlev v. United States, 490 U.S.
545, 547-48 (1989); Aldinger v. HoWard, 427 U.S. l, 15 (1976); Stillrnan V. Combe, 197

U.S. 436 (1905); Turner v. Bank ofN. Am., 4 U.S. 8, 10 (1799). Federal courts are obliged

 

1 Although the complaint also purports to name the United States of America as an additional plaintiff the
plaintiff is not authorized to commence a lawsuit in the name of the United States. 28 U.S‘C. § 516 (“Except as
otherwise authorized by law, the conduct of litigation in which the United States, an agency, or officer thereof is a
party, or is interested, and securing evidence therefor, is reserved to officers of` the Department of .lustice, under the
direction of the Attorney General.”). The Clerk is directed to remove the United States as a party to this action.

Thls document entered on the dockepsneet in compliance
with Rule 58 and,'or.?Q (a) FRCP on

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to act sua sponte Whenever a question concerning jurisdiction arises. _S__e§L_e_g, St._Paul
Mercurv Indem. Co. v. Red Cab Co., 303 U.S. 283, 287 n.10(1938)',Ricketts v. Midwest
Nat’l Bank, 874 F.2d 1177, 1181 (7th Cir. 1989) (citing Bender v. Williamsoort Area Sch.
M, 475 U.S. 534, 541 (1986))', 13 C. Wright, A. Miller & E. Cooper, Federal Practice and
Procedure § 3522 at 70 (1984). “[Fed. R. Civ. P.] 12(h)(3) provides that a court shall
dismiss an action ‘[vv]henever it appears by suggestion of the parties or otherwise that the
court lacks jurisdiction over the subject matter.”’ §

According to the Sixth Circuit, “a district court may not sua sponte dismiss a
complaint where the filing fee has been paid unless the court gives the plaintiff the
opportunity to amend the complaint.” Apple v. Glenn, 183 F.3d 477, 478 (6th Cir. 1999)
(per curiam); see also Benson v. O’Brian, 179 F.3d 1014 (6th Cir. 1999); Tingler v.
Marshall, 716 F.Zd 1109, 1112 (6th Cir. 1983). There is an exception to this general rule,
however, that permits a district court to dismiss a complaint “for lack of subject matter
jurisdiction pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure When the
allegations of a complaint are totally implausible, attenuated, un substantial, frivolous, devoid
ofmerit, or no longer open to discussion.” _A_pp_le_, 183 F.3d at 478 (citing Hagans v. Lavine,
415 U.S. 528, 536-37 (1974)).

ln this case, the complaint does not allege any basis for federal subject-matter

jurisdiction, as required by Fed. R. Civ. P. 8(a)(1).2 As the United States is not properly

 

2 That Rule provides that “[a] pleading which sets forth a claim for relief. . . shall contain (l) a short and
plain statement of the facts upon which the court’s jurisdiction depends.”

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named as aplaintiffin this case, 28 U.S.C. § 1345 provides no basis for federaljurisdiction.
Moreover, it is evident thatjurisdiction cannot be based on 28 U.S.C. § 1332, as the plaintiff
and several defendants are Tennessee residents. Finally, it is not clear from the face of the
complaint that there is federal question jurisdiction under 28 U.S.C. § 1331 or that there is
any other basis to support the Court’s jurisdiction over this action.

Accordingly, the plaintiff is ORDERED to show cause, in Writing and Within 30 days
after the entry of this order, Why this case should not be dismissed for lack of subject-matter
j urisdiction. The response must be typed or hand printed on 81/2 by 1 1 inch paper, one side
to a sheet. The plaintiff must personally sign the response. The plaintiff s response may
take the form of an amended complaint The failure to timely comply With this order Will
result in the dismissal ofthe complaint in its entirety, pursuant to Fed. R. Civ. P. 41(b), for
failure to prosecutel

The plaintiff also must keep this Court informed of his current address. lf the
plaintiff fails to inform the Court of a change of address, he Will not be excused for failing
to comply With the Court’s orders and deadlines because an order Was delayed or not
delivered to him.

,/
ir is so oRDERED this 23 day OrAuguSt, 2005.

Q_n/Wb.M

JAM D.TODD
uNI D sTATEs DisrRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CV-01170 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

 

 

Michael R. Hill

FLIPPIN COLLINS & H[LL, PLLC
P.O. Box 679

1\/1i1an7 TN 38358

J ames 1\/1. Glasgovv

ELAM GLASGOW & CHISM
P.O. Box 250

127 S. First Street

Union City7 TN 38261

Ricky G. Smith
1802 Shatz Road
Union City7 TN 38261

Honorable J ames Todd
US DISTRICT COURT

